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                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    Fort Lauderdale Division
                                     www.flsb.uscourts.gov


In re:                                                                    Chapter 7

GENEREX BIOTECHNOLOGY CORP,                                               Case No. 22-13166-PDR

         Debtor.

____________________________________/

 PRELIMINARY OBJECTION TO THE TRUSTEE’S MOTION FOR ENTRY OF AN
ORDER (I) APPROVING STALKING HORSE BID AND STALKING HORSE EPA, (II)
APPROVING BID PROCEDURES AND BID PROTECTIONS IN CONNECTION WITH
THE SALE OF DEBTOR’S EQUITY IN TWO SUBSIDIARIES, (III) APPROVING THE
FORM AND MANNER OF NOTICE OF SALE, (IV) SCHEDULING AN AUCTION AND
  SALE HEARING AND (V) APPROVING THE SALE OF THE EQUITY FREE AND
             CLEAR OF LIENS, CLAIMS AND ENCUMBRANCES

         Terry Thompson (“Thompson”), Richard Purcell (“Purcell”), Dr. Jason Terrell

(“Terrell”) and Anthony Crisci (“Crisci”) (collectively, the “Objecting Parties”), by and through

their undersigned counsel, file this Preliminary1 Objection to the Trustee’s Motion For Entry Of

An Order (I) Approving Stalking Horse Bid And Stalking Horse EPA, (II) Approving Bid

Procedures And Bid Protections In Connection With The Sale Of Debtor’s Equity In Two

Subsidiaries, (III) Approving The Form And Manner Of Notice Of Sale, (IV) Scheduling An

Auction And Sale Hearing And (V) Approving The Sale Of The Equity Free And Clear Of Liens,

Claims And Encumbrances [ECF No. 56] (the “Sale Motion”), and respectfully state as follows:




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  This Objection is Preliminary, to (a) put the parties on notice that the Trustee is seeking to sell assets not owned by
the Debtor, but owned in significant part by the Objecting Parties, and (b) to object to the proposed factual findings
in the Sale Procedures Order that seek to establish the contrary. The initial hearing on the Sale Motion is set for a 10
minute non-evidentiary hearing [ECF No. 57]. The Objecting Parties reserve the right to supplement this Objection
and file a more fulsome pleading in opposition to the Sale Motion by the proposed deadline of December 16, 2022.
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        1.        Pursuant to the Sale Motion, the Trustee seeks to sell what it asserts is a 100%

ownership interest in Olaregen Therapeutix, Inc. (“Olaregen”). The Trustee also seeks factual

findings in the proposed Sale Procedures Order (attached as Exhibit 2 to the Sale Motion) that,

among other things, the Debtor owns 100% of the outstanding shares in Olaregen and that no other

person or entity has any rights, interest or equity in the shares of Olaregen. As set forth below, that

is not correct.

        2.        The Trustee also seeks to sell approximately 64 million shares in Antigen Express,

Inc. d/b/a NuGenerex Immuno Oncology, Inc. (“NGIO”), and similarly, seeks factual findings in

the Sale Procedures Order that, among other things, the Debtor owns all of such NGIO shares (the

“NGIO Stock”) and that no other person or entity has any rights, interest or equity in the NGIO

Stock. As set forth below, that is also not correct.

        3.        The Objecting Parties, who are former officers of the Debtor and current officers

and directors of Olaregen, collectively own (a) approximately 69.5% of the outstanding shares in

Olaregen that the Trustee seeks to sell and (b) approximately 27.7 million shares of the 64 million

shares in NGIO Stock that the Trustee seeks to sell.

                           The Debtor Does Not Own 100% in Olaregen

        4.        As set forth in the Sale Motion and in the Debtor’s public filings through April 30,

2021, the Trustee asserts that as of February 14, 2020, the Debtor owned 100% of the outstanding

shares in Olaregen. This ownership was effectuated through, among other things, a certain Stock

Purchase Agreement, Secured Promissory Note, Pledge and Security Agreement, as amended (the

“Transaction Documents”).

        5.        What is not stated in the Sale Motion is the fact that the Debtor defaulted on its

obligation to purchase the majority interest in Olaregen for $12 million, and that on October 13,



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2021, Oleregen issued and delivered an Official Notice of Default and Termination to the Debtor

(the “Termination Notice”), which Termination Notice was acknowledged, agreed to and

accepted by the Debtor. See Exhibit “A”.

       6.     Pursuant to the Termination Notice, the purchase of the Olaregen stock as

contemplated by the Transaction Documents was terminated and declared null and void.

       7.     As a result of the Termination Notice, the Debtor retained only 2,291,234 of the

outstanding common shares of Olaregen’s 10 million total authorized, issued and outstanding

common shares (i.e., approximately 23% of Olaregen).

       8.     Shortly following the resignation of Olaregen’s former officers and directors, and

the subsequent appointment of a new board and officers, on October 11, 2021, Olaregen issued

common and preferred stock to its key executives. This was done to retain such executives due to

lack of working capital. See Minutes of Olageren’s Board Meeting Dated October 11, 2021,

attached as Exhibit “B”.

       9.     As a result of the forgoing, out of the 10 million in authorized common shares, the

following is the ownership of the common stock in Olageren:

                 Generex: 2,291,234 shares
                 Terry Thompson (President): 2,115,052 shares
                 Richard Purcell (Chief R&D Officer): 2,115,052 shares
                 Anthony Crisci (Chief Legal Officer): 2,115,052 shares
                 Jason Terrell, MD (Chief Medical Officer): 600,000 shares

       10.    Moreover, pursuant to the October 11, 2021 board meeting, each of Terry

Thompson, Richard Purcell and Anthony Crisci were issued 33,333 shares of Series B Preferred

Stock in Olaregen. See Exhibit “B”.




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               The Debtor Does Not Own 64,153,151 Shares of NGIO Common Stock

         11.      Prior to October 22, 2020, the Debtor owned 64,153,151 shares of NGIO common

stock.

         12.      On October 22, 2020, the Debtor entered into separate agreements titled “Restricted

Stock Award Agreement, Settlement Agreement and Release” (the “Compensation Settlement

Agreements”) with certain former key employees of the Debtor, including the Objecting Parties,

in order to settle all past due compensation owed from the Debtor to such employees.

         13.      In particular, the Debtor entered into the Compensation Settlement Agreements

with each of Terry Thompson, Richard Purcell, Dr. Jason Terrell and Anthony Crisci. Copies of

those Compensation Settlement Agreements are attached collectively as Exhibit “C”.

         14.      Pursuant to the Compensation Settlement Agreements, each of the Objecting

Parties were granted a combination of cash and common stock in each of the Debtor and NGIO to

resolve the total compensation otherwise due. Exhibit A to each of the Compensation Settlement

Agreements sets for the schedule of cash and stock to be provided to the respective Objecting Party

by the Debtor.

         15.      As a result of the Compensation Settlement Agreements, out of the 64,153,151

shares of NGIO common stock that were owned by the Debtor, the following shares of NGIO

common stock were granted to the Objecting Parties:

                     Terry Thompson: 10,862,504 shares
                     Richard Purcell: 5,604,259 shares
                     Anthony Crisci: 7,869,104 shares
                     Jason Terrell, MD: 3,351,791 shares

         16.      The Debtor’s board of directors approved and ratified the Compensation Settlement

Agreements on February 17, 2021, which became effective on March 24, 2021.

         17.      As such, the Debtor does not own all of the shares in NGIO it purports to sell.


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           The Requested Factual Findings in the Proposed Sale Procedures Order

        18.     Notwithstanding the foregoing, the Trustee seeks factual findings in the Sale

Procedures Order that the Debtor, among other things, (a) owns 100% of the outstanding shares in

Olaregen, and that no other person or entity has any rights, interest or equity in the shares of

Olaregen, and (b) owns approximately 64 million shares in NGIO, and that no other person or

entity has any rights, interest or equity in the NGIO Stock.

        19.     As these proposed findings are directly contrary with the facts set forth herein by

the Objecting Parties, any such factual findings in the Sale Procedures Order is inappropriate. In

any event, no such findings should be made at the preliminary hearing on the Sale Motion, which

is currently set for a 10 minute non-evidentiary hearing [ECF No. 57].

        WHEREFORE, the Objecting Parties, Terry Thompson, Richard Purcell, Dr. Jason Terrell

and Anthony Crisci, request that the Court sustain this Preliminary Objection and grant such

further relief as is appropriate.

        Respectfully submitted this 8th day of November, 2022.

                                              GENOVESE JOBLOVE & BATTISTA, P.A.
                                              Counsel for Terry Thompson, Richard Purcell, Dr.
                                              Jason Terrell and Anthony Crisci
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF Notification

on this 8th day of November, 2022.

                                        By:        /s/ Glenn D. Moses
                                                   Glenn D. Moses, Esq.
                                                   Fla. Bar. No. 174556
                                                   Email: gmoses@gjb-law.com




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